l..:t 7
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          AO 442 (Rev. 11/11) Arrest Warrant



                                                   UNITED STATES DISTRICT COURT
                                                                                     for the

                                                                           District of Columbia
                             United States of America
                                          V.
                                                                                       ) Case: 1:24-mj-00O68 .                                      .
                              Nicole Marie Joyner                                      ) Assigned To : Judge Zia M. Faruqu1
                                                                                       ) Assign. Date : 2/23/202 4
                                                                                       ) Description: COMPLAINT \f\'IARREST V\'ARRANT
                                                                                       )
                                                                                       )
                                      Defendant

                                                                      ARREST WARRANT
          To:      Any authorized law enforcement officer

                   YOU ARE COMMANDE D to arrest and bring before a United States magistrate judge without unnecessary delay
          (name ofperson to be an-ested) _N_ic""""'o;._l. c. . e..;;;._M.;;;;.;an~·e;._;Jc.. .:; o_,_yn=e.: . .;:r;,____ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          who is accused of an offense or violation based on the following document filed with the court:

                Indictment       CJ Superseding Indictment       Information          Superseding Information                              R Complaint
                Probation Violation Petition   CJ Supervised Release Violation Petition                 Notice                             CJ Order of the Court

          This offense is briefly described as follows:

          18 U.S.C. § 1752(a)(l) (Entering and Remaining in a Restricted Building or Grounds)
          18 U.S.C. § 1752(a)(2) (Disorderly and Disrupti:e Cond~ct in~ R~stricted Building or Grounds)
          40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct~ a Cap1t~l B~tl~g)
          40 U.S.C. § 5104(e)(Z)(G) (Parading, Demonstrating, or Picketing ma Capitol Building)
                                                                                                                                    Zia M. Faruqui
                                                                                                                                    2024.02.23
          Date:                                                                                             -----                   12:37:38 -05'00'
                        02/23/2024                                                                               Issuing officer's signature


          City and state:                  Washington, D.C.                                         Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                              Printed name and title
                                                                                   Return

                    This warrant was received on (date)        D1/'ll / 1..                'and the person was arrested on (date)         D5// s/2.~
          at(cityandstate)        Oc..,,...        F(o<ft~c
                                               I
          Date:    0 S(12/1~
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                     IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                OCALA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                                       5:24-mj-1121-PRL

NICOLE MARIE JOYNER,
     Defendant.
                                                                    AUSA: Belkis Crockett
                                                          Deft. Atty.: Christine Bird (AFD)

JUDGE              Philip R. Lammens         DATE AND TIME                   May 13, 2024
                                                                        2:34 pm – 3:00 pm
                                                                               26 minutes
DEPUTY CLERK M. Taylor                       TAPE/REPORTER                     DIGITAL
INTERPRETER        Not Required              PRETRIAL/PROBATION:           Bryan Coomer

               CLERK'S MINUTES – INITIAL APPEARANCE (Rule 5c)

Defendant arrested on a Criminal Complaint from the District of Columbia. Their case
number is: 1:24-mj-00068.

Defendant advised of rights, charges, penalties, etc...

Defendant requests court-appointed counsel. Based on the financial affidavit completed by
defendant and/or a financial inquiry, the Court appoints the Federal Defender with
reimbursement upon filing by U.S. Attorney. ORDER TO ENTER.

Court advises defendant of Rule 20 rights.

Court advised the parties of the requirements of the Due Process Protections Act.

Defendant waives an identity hearing, production of the warrant and preliminary hearing.

Government is not seeking the defendant’s detention but requests conditions of release.

Discussion regarding conditions.

ORDER SETTING CONDITIONS OF RELEASE.

ORDER OF REMOVAL RULE 5/32.1 TO ENTER

FILED IN OPEN COURT:
Financial Affidavit,
Waiver of Rule 5 & 5.1 Hearings
         Case 1:24-cr-00371-JEB Document 15 Filed 05/15/24 Page 3 of 14




                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                                        5:24-mj-1121-PRL

NICOLE MARIE JOYNER,
     Defendant.


                          ORDER APPOINTING FEDERAL DEFENDER

       Because the above named defendant has testified under oath or has otherwise satisfied

this Court that he/she: (1) is unable to employ counsel, and (2) does not wish to waive

counsel, and because the interests of justice so require, it is

       ORDERED that the Federal Defender is appointed to represent the defendant in this

case. The defendant may be required to contribute to the cost of this representation depending

on circumstances to be determined at a later date.

       DONE AND ORDERED in Ocala, Florida, on May 13, 2024.




Copies furnished to:

Counsel of Record
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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

v.                                                                         5:24-mj-1121-PRL

NICOLE MARIE JOYNER,
     Defendant.


                     FINDINGS AND ORDER OF REMOVAL PROCEEDINGS
                         PURSUANT TO RULE 5, FED. R. CRIM. P.

       Nicole Marie Joyner, having been arrested and presented before me for removal

proceedings pursuant to Rule 5, Federal Rules of Criminal Procedure, and having been

informed of the rights specified in Rule 5(c)(3) thereof, the following has occurred of record.

       An Initial Appearance on the Rule 5 Complaint from District of Columbia was held
       on May 13, 2024.

       After hearing the evidence, and based on the defendant's waiver of identity hearing, I
       find that Nicole Marie Joyner is the person named in the warrant for arrest, a copy of
       which has been produced.

       Defendant waived a preliminary examination hearing.

       It is, therefore,

       ORDERED that Nicole Marie Joyner be held to answer in the district court in which

the prosecution is pending. Final Commitment given to the U.S. Marshal.

       DONE and ORDERED in Ocala, Florida, on May 13, 2024.



Copies furnished to:

Counsel of Record
United States Marshal
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                            Query    Reports   Utilities   Help    What's New    Log Out


                                                                                           BOND, CLOSED

                               U.S. District Court
                        Middle District of Florida (Ocala)
           CRIMINAL DOCKET FOR CASE #: 5:24-mj-01121-PRL All Defendants


Case title: USA v. Joyner                                         Date Filed: 05/13/2024

Other court case number: 1:24-mj-68 District of Columbia          Date Terminated: 05/13/2024


Assigned to: Magistrate Judge Philip R.
Lammens

Defendant (1)
Nicole Marie Joyner                               represented by Christine Nan Bird
TERMINATED: 05/13/2024                                           Office of the Federal Defender
                                                                 203 E. Silver Springs Blvd.
                                                                 Suite 202
                                                                 Ocala, FL 34470
                                                                 352-351-9157
                                                                 Email: christine_bird@fd.org
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Public Defender or
                                                                 Community Defender Appointment

Pending Counts                                                    Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                                 Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                        Disposition
18:1752.P RESTRICTED BUILDING OR
GROUNDS (entering and remaining in a
restricted building or grounds & disorderly
and disruptive conduct in a restricted
building or grounds); 40:5104E.M
VIOLENT ENTRY AND DISORDERLY
                Case 1:24-cr-00371-JEB Document 15 Filed 05/15/24 Page 13 of 14
CONDUCT ON CAPITOL GROUNDS
                            Query Reports   Utilities Help What's New Log Out
(disorderly conduct in a Capitol Building &
parading, demonstrating, or picketing in a
Capitol Building)



Plaintiff
USA                                             represented by Belkis H. Crockett
                                                               DOJ-USAO
                                                               Ocala Division
                                                               35 SE 1st Avenue
                                                               Suite 300
                                                               Ocala, FL 34471
                                                               352-547-3600
                                                               Email: belkis.crockett@usdoj.gov
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained


Date Filed    #   Docket Text
05/13/2024    1 Arrest pursuant to Rule 5(c)(2) of Nicole Marie Joyner from the District of Columbia.
                (MJT) (Entered: 05/13/2024)
05/13/2024    2 ORAL MOTION to Appoint Counsel by Nicole Marie Joyner. (MJT) (Entered:
                05/15/2024)
05/13/2024    3 ***CJA 23 Financial Affidavit by Nicole Marie Joyner. (MJT) (Entered: 05/15/2024)
05/13/2024    4 ORAL MOTION for Bond by Nicole Marie Joyner. (MJT) (Entered: 05/15/2024)
05/13/2024    5 Minute Entry for In Person proceedings held before Magistrate Judge Philip R. Lammens:
                granting 2 Oral Motion to Appoint Counsel; INITIAL APPEARANCE in Rule 5(c)(3)
                proceedings held on 5/13/2024 as to Nicole Marie Joyner from the District of Columbia.
                (DIGITAL) (MJT) (Entered: 05/15/2024)
05/13/2024    6 ORDER APPOINTING FEDERAL DEFENDER as to Nicole Marie Joyner. Signed
                by Magistrate Judge Philip R. Lammens on 5/13/2024. (MJT) (Entered: 05/15/2024)
05/13/2024    7 NOTICE of Standing Order Regarding Due Process Protections Act, 3:20-mc-20-TJC, Doc
                1 as to Nicole Marie Joyner: Pursuant to the Due Process Protections Act, the Court
                confirms the United States' disclosure obligation under Brady v. Maryland, 373 U.S. 83
                (1963), and its progeny and orders the United States to comply with that obligation.
                Violating this order may result in consequences, including exclusion of evidence, adverse
                jury instructions, dismissal of charges, contempt proceedings, and other sanctions. Signed
                by Judge Timothy J. Corrigan. (MJT) (Entered: 05/15/2024)
05/13/2024    8 WAIVER of Rule 5 & 5.1 Hearings hearing by Nicole Marie Joyner. (MJT) (Entered:
                05/15/2024)
05/13/2024    9 ORDER Setting Conditions of Release. Signed by Magistrate Judge Philip R.
                Lammens on 5/13/2024. (MJT) (Entered: 05/15/2024)
05/13/2024   10 APPEARANCE BOND entered as to Nicole Marie Joyner. Signed by Magistrate
                Judge Philip R. Lammens on 5/13/2024. (MJT) (Entered: 05/15/2024)
05/13/2024   11 ORDER OF REMOVAL pursuant to Rule 5(c)(3) to the District of Columbia as to
                Nicole Marie Joyner. Signed by Magistrate Judge Philip R. Lammens on 5/13/2024.
             Case 1:24-cr-00371-JEB Document 15 Filed 05/15/24 Page 14 of 14
                (MJT) (Entered: 05/15/2024)
                       Query    Reports      Utilities   Help    What's New     Log Out
05/15/2024       NOTICE to District of Columbia of a Rule 5 or Rule 32 Initial Appearance as to Nicole
                 Marie Joyner regarding your case number: 1:24-mj-00068. Using your PACER account,
                 you may retrieve the docket sheet and any documents via the case number link. No
                 documents/record will be sent. If you require certified copies of any documents please send
                 a request to InterdistrictTransfer_FLMD@flmd.uscourts.gov. If you wish the court to use a
                 different email address in the future, please send a request to update your address to
                 InterdistrictTransfer_TXND@txnd.uscourts.gov. (MJT) (Entered: 05/15/2024)
05/16/2024   12 RECEIPT for surrender of Passport as to Nicole Marie Joyner. Passport Number:
                AXXXXXXXX. Issuing Country: USA. (MJT) (Entered: 05/17/2024)
05/17/2024   13 TRANSFER of Passport as to Nicole Marie Joyner. Passport Number: AXXXXXXXX. Issuing
                Country: USA. Transferred to: District of Columbia. (MJT) (Entered: 05/17/2024)
